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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ADRIAN LUPU                      :
          Plaintiff,             :
                                 :
    v.                           :
                                 :
LOAN CITY, LLC, et al.           :
          Defendants.            :
                                 :                         CIVIL ACTION NO. 12-4556
OCWEN LOAN SERVICING, LLC        :
          Third-Party Plaintiff, :
                                 :
    v.                           :
                                 :
STEWART TITLE GUARANTY COMPANY :
          Third-Party Defendant. :


                                           ORDER

       AND NOW, this 7th day of November 2018, counsel for the remaining parties, Ocwen

Loan Servicing, LLC and Stewart Title Guaranty Company, having stipulated to dismissal after

partial remand from the Court of Appeals, it is hereby ORDERED that the case is DISMISSED

with prejudice and without costs pursuant to Federal Rule of Civil Procedure 41(a). The case

remains CLOSED.

       It is so ORDERED.

                                            BY THE COURT:

                                            /s/ Cynthia M. Rufe
                                            _____________________
                                            CYNTHIA M. RUFE, J.
